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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                    (Topeka Docket)

UNITED STATES OF AMERICA,

                        Plaintiff,

      v.                                             Case No. 18-40054-02-HLT

ERIK NIELSEN,

                        Defendant.


                                       MOTION TO DISMISS

       The United States of America, by and through Stephen R. McAllister, United States

Attorney for the District of Kansas, and Christine E. Kenney, Assistant United States Attorney for

said District respectfully requests that the court dismiss the Indictment against the above named

defendant, without prejudice.   The defendant does not object to this motion.

       WHEREFORE, the government respectfully requests that the court dismiss, without

prejudice, the Indictment against the above named defendant, as to the above-named defendant.



                                                    Respectfully submitted,

                                                    STEPHEN R. MCALLISTER
                                                    United States Attorney

                                                    /s/ Christine E. Kenney
                                                    Christine E. Kenney, #13542
                                                    Assistant U.S. Attorney
                                                    444 SE Quincy, Room 290
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2019, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to

counsel of record.


                                                     s/ Christine E. Kenney
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